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           United States District Court
          Western District of Wisconsin




        Certificate of Good Standing

   I certify that Karla Z. Keckhaver was duly admitted to practice in the
United States District Court for the Western District of Wisconsin on
June 24, 1999 and is in good standing in this court.

  Dated this 11th day of March, 2019.

                                     Peter Oppeneer, Clerk of Court



                                     By ____________________________
                                        Deputy Clerk
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    Case 2:15-cv-00079-LGW-BWC Document 248 Filed 03/15/19 Page 4 of 4



List of All Cases in this Court which Applicant has Appeared as
Counsel:
State of Georgia, et al. v. Andrew Wheeler, et al., 15-cv-79
     On April 23, 2018, Counsel’s Motion to Withdraw as Attorney was
granted. (Dkt. 153.)
